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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                            )
In re:
                                            )    Chapter 11
                                            )    Case No. 23-90005 (DRJ)
PARTY CITY HOLDCO INC., et al., 1
                                            )
                                            )    (Jointly Administered)
                            Debtors.        )
                                            )
                                            )
               NOTICE OF SECOND DAY FINAL HEARING
                 [Related to Document Nos. 10, 23, 107, 112]

          PLEASE TAKE NOTICE THAT a final hearing has been set for Tuesday, February 14,

2023 at 2:00 p.m. prevailing Central Time on the motions identified below, before the Honorable

David R. Jones, United States Bankruptcy Judge. The hearing will take place in Judge Jones’

courtroom, Courtroom 400, 515 Rusk, Houston, Texas 77002 and by telephone and video

conference, with the following instructions below.

               Debtors’ Emergency Motion for Entry of Interim and Final Orders (I)
               Authorizing the Debtors to Pay Certain Prepetition Claims of (A) Critical
               Vendors, (B) Lien Claimants, (C) Customs and Regulatory Claims, (D) Foreign
               Vendors, and (E) 503(B)(9) Claimants, (II) Confirming Administrative
               Expense Priority of Outstanding Orders, and (III) Granting Related Relief (the
               “Vendors Motion”) [Dkt. Nos. 23, 107].

               Debtors’ Emergency Motion for Entry of Interim and Final Orders (I)
               Authorizing the Debtors to (A) Obtain Postpetition Financing, (B) Use Cash
               Collateral, and (C) Grant Liens and Provider Superiority Administrative
               Expense Claims, (II) Granting Adequate Protection to Certain Prepetition
               Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final


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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Party City Holdco Inc. (9758); Amscan Custom Injection Molding, LLC (4238); Amscan Inc. (1359);
    Amscan Purple Sage, LLC (3514); Am-Source, LLC (8427); Anagram Eden Prairie Property Holdings LLC (8309);
    Party City Corporation (3692); Party City Holdings Inc. (3029); Party Horizon Inc. (5812); PC Intermediate
    Holdings, Inc. (1229); PC Nextco Finance, Inc. (2091); PC Nextco Holdings, LLC (7285); Print Appeal, Inc. (5932);
    and Trisar, Inc. (0659). The location of the Debtors’ service address for purposes of these chapter 11 cases is: 100
    Tice Boulevard, Woodcliff Lake, New Jersey 07677.


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              Hearing, and (V) Granting Related Relief (the “DIP Motion”) [Dkt. Nos. 10,
              112].

           PLEASE TAKE FURTHER NOTICE that objections or responses to the entry of the

final orders on the Vendors Motion and DIP Motion must be filed on or before 4:00 p.m.,

prevailing Central Time on February 7, 2023. In the event no objections to these motions are

timely received, the Court may enter orders without a hearing.

           Participation at the hearing is permitted in-person and by audio and video connection

pursuant to the Court’s Post-COVID Reopening Plan.

           For participants not attending in person, audio communication will be by use of the Court’s

dial-in facility. You may access the facility at 832-917-1510. Once connected, you will be asked

to enter the conference room number. Judge Jones’ conference room number is 205691. Video

communication will be by use of the GoToMeeting platform. Connect via the free GoToMeeting

application or click the link on Judge Jones’ home page. The meeting code is “JudgeJones.” Click

the settings icon in the upper right corner and enter your name under the personal information

setting.

           Hearing appearances must be made electronically in advance of both electronic and in-

person hearings. To make your appearance, click the “Electronic Appearance” link on Judge

Jones’ home page. Select the case name, complete the required fields and click “Submit” to

complete your appearance.




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Dated: January 26, 2023             Respectfully submitted,

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                                    - and -

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                                    Proposed Counsel to the Debtors and
                                    the Debtors in Possession




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                                     Certificate of Service

        I certify that on January 26, 2023, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                    /s/ John F. Higgins
                                                    John F. Higgins
